      Case 3:17-cr-00249-BAS                  Document 52          Filed 03/03/17          PageID.112          Page 1 of 2
                                                                                                              FILED
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                        UNITED STATES DISTRICT COD                                    CLERK, U.S. DISTRICT COURT
                                                                                                   SOU    ERN DISTRICT OF' CALIFORNIA
                                          SOUTHERN DISTRlCT OF CALIFORNIA                          BY                           DEPUTY
              UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                                   V.                               (For Offenses Committed On or After November 1, 1987)
           HERBERT CHAPARRO-ACOSTA (2)
                                                                        Case Number:       17CR0249-BAS

                                                                    ARON ISRAELITE OF FEDERAL DEFENDERS, INC.
                                                                    Defendant's Attorney
REGISTRATION NO.                   59427298
D -
IZI   pleaded guilty to count(s)        TWO (2) OF THE INFORMA nON

      was found guilty on count(s)
    after a olea of not guiltv.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Connt
Title & Section                     Natnre of Offense                                                               Nnmber(s)
8 USC 1324(a)(1)(A)(i)              BRINGING IN ALIENS AND AIDING AND ABETTING                                         2
AND (v)(II)




     The defendant is sentenced as provided in pages 2 through
                                                                     --...;;;...-­
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
                                                                           2       ofthis judgment.


D     The defendant has been found not guilty on count(s)

D     Count(s)                                                IS          dismissed on the motion of the United States.

IZI   Assessment: $100.00 WAIVED.



IZI No fine                D Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                    H     . CYNTHIA BASHANT
                                                                    U1\1ITED STATES DISTRlCT JUDGE


                                                                                                                  17CR0249-BAS
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AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                 HERBERT CHAPARRO-ACOSTA (2)                                            Judgment - Page 2 of2
CASE NUMBER:               17CR0249-BAS



                                                 IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




        Sentence imposed pursuant to Title 8 USC Section 1326(b).
 D      The court makes the following recommendations to the Bureau of Prisons:




 D      The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
              at                        A.M.                  on
             -----------------
        D as notified by the United States Marshal.
                                                                   ------------------------------------
        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
        Prisons:
              on or before
        D     as notified by the United States Marshal.
        D     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

        Defendant delivered on
                                 -------------------------- to ------------------------------
 at
      ----------------------- , with a certified copy of this judgment.

                                                                UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL


                                                                                                      17CR0249-BAS
